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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re Dealer Management Systems Antitrust
Litigation, MDL 2817
                                                      No. 1:18-CV-864

This document relates to:                             Hon. Robert M. Dow, Jr.
ALL ACTIONS EXCEPT i3 Brands, Inc., et
                                                      Magistrate Judge Jeffrey T. Gilbert
al. v. CDK Global, LLC, et al., No. 19-cv-1412

          FOURTH STIPULATED AMENDED CASE MANAGEMENT ORDER

       Reserving all rights, the parties have stipulated to the following proposed amended sched-

ule for the parties’ forthcoming Daubert and dispositive motions.

       IT IS HEREBY ORDERED that the Third Stipulated Amended Case Management Order

(Dkt. 800) applicable to all actions consolidated in this MDL except i3 Brands, Inc., et al. v. CDK

Global, LLC, et al., Case No. 19-CV-1412, is amended with regard to the following deadlines:

                              EVENT                                 DATE

 DAUBERT MOTIONS (ALL PARTIES)
     1. Deadline for Daubert Motions                                February 28, 2020
     2. Deadline for Responses in Opposition to any Daubert         April 10, 2020
        Motions
     3. Deadline for Replies in Support of any Daubert Motions May 1, 2020
 DISPOSITIVE MOTIONS (ALL PARTIES)
     4. Deadline for Dispositive Motions                            April 1, 2020
     5. Deadline for Responses in Opposition to any Disposi-        May 22, 2020
        tive Motions
     6. Deadline for Replies in Support of any Dispositive Mo-      June 12, 2020
        tions
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STIPULATED AND AGREED:



/s/ Derek T. Ho                                       /s/ Peggy J. Wedgworth
Derek T. Ho                                           Peggy J. Wedgworth
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Joshua Hafenbrack                                     MILBERG PHILLIPS GROSSMAN LLP
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Counsel for Authenticom, Inc.; Loop, LLC,
d/b/a AutoLoop on behalf of itself and all oth-
ers similarly situated; and Motor Vehicle
Software Corp.


/s/ Britt M. Miller                                   /s/ Aundrea K. Gulley
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Counsel for Defendants CDK Global, LLC
                                                      olds Company




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                                          SO ORDERED:


DATED: February 19, 2020
                                          ____________________________________
                                          Hon. Robert M. Dow, Jr
                                          UNITED STATES DISTRICT COURT JUDGE




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                                 CERTIFICATE OF SERVICE

        I, Britt M. Miller, an attorney, hereby certify that on February 14, 2020, I caused a true and
correct copy of the foregoing FOURTH STIPULATED AMENDED CASE MANAGEMENT
ORDER, to be filed and served electronically via the court’s CM/ECF system. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.

                                               /s/ Britt M. Miller
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